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                                                       June 15, 2022

VIA ECF

Hon. Pamela K. Chen, USDJ
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

    Re:     Gonzalez v. The Cheesecake Factory Restaurants, Inc., 2:21-cv-05017-PKC-SIL

Dear Judge Chen:

        I represent the Plaintiff in the above referenced action. Plaintiff writes to request leave to
file a Memorandum of Law not to exceed 10 pages on or before June 24, 2022, in further
opposition to Defendant’s Motion to Compel Arbitration (ECF No. 18) or, in the alternative, that
the Defendants’ reply (ECF 19) be stricken in its entirety.

      The reason for this request is that the Defendant submitted new facts, evidence,
arguments and a request for relief in its Reply (ECF No. 19).

                                                  FACTS

        The Cheesecake Factory Restaurants, Inc. (“TCFI”) served a motion to compel
arbitration on February 18, 2022. On March 1, 2022, Plaintiff emailed the Defendant regarding
evidentiary deficiencies in TCFI’s motion papers, and asked the Defendant to remedy the
evidentiary deficiencies before Plaintiff opposed the motion, so that Plaintiff could have a full
opportunity to be heard. Also, on March 4, 2022 the attorneys for the respective parties spoke by
telephone regarding Plaintiff’s concerns. Defendant declined to supplement its moving papers.

        Plaintiff’s Opposition (ECF No. 20), which was served on April 15, 2022, pointed out
the evidentiary deficiencies in the Defendant’s initial motion papers, which included the fact that
the Defendant had submitted an inadmissible Spanish language document not accompanied by a
certified translation.

       On May 20, 2022, TCFI filed a reply which included:

       1.      New evidence: A “Supplemental Declaration” of Barbara Lewis and reference to
               said declaration in the reply brief;




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        2.       New arguments: TCFI argued for the first time that the Spanish Handbook
                 ostensibly signed by the Plaintiff was a “true and accurate” translation of the
                 English Handbook 1;
        3.       Misstatements of Fact: TCFI incorrectly claimed that the Plaintiff had admitted
                 that the Spanish language document submitted to the Court was a literal
                 translation of the English version;
        4.       Request for Additional Relief: TCFI moved to Strike Plaintiff’s Expert Report
                 in its reply, which was unaccompanied by a notice of motion.

                                                  THE LAW

       New evidence. “A reply brief should not. . .be used to cure a defective motion by
providing new evidence.” Paz Sys. v. Dakota Grp. Corp., No. CV 05-4763 (LDW) (WDW),
2006 U.S. Dist. LEXIS 103301, at *10 (E.D.N.Y. June 16, 2006); Grand River Enters. Six
Nations v. King, No. 02 Civ. 5068 (JFK), 2012 U.S. Dist. LEXIS 10802, at *23 (S.D.N.Y. Jan.
30, 2012) (therefore documents submitted for the first time with a reply “are not properly before
the Court and will not be considered.”).

        New arguments. “Typically, arguments made for the first time in a reply submission are
not considered by the Court.” Alford v. City of N.Y., 413 F. Supp. 3d 99, 106 n.5 (E.D.N.Y.
2018)(citing Knipe v. Skinner, 999 F.2d 708, 711 (2d Cir. 1993) (“Arguments may not be made
for the first time in a reply brief.”); Domino Media, Inc. v. Kranis, 9 F.Supp.2d 374, 387, 387 n.
82 (S.D.N.Y. 1998) (“New arguments first raised in reply papers in support of a motion will not
be considered.”).

        Request for relief unaccompanied by notice of motion. Seeking relief for the first time
in a reply brief is improper. Coene v. 3M Co., 303 F.R.D. 32, 48 n.10 (W.D.N.Y. 2014).
Furthermore, Under this Court’s Local Civil Rule 7(a)(1), all motions other than letter motions
“shall include. . .[a] notice of motion. . .which shall specify the applicable rules or statutes
pursuant to which the motion is brought, and shall specify the relief sought by the motion.”
“This Court enjoys the discretion in enforcement of its Local Civil Rules”, including the
discretion strike a motion unaccompanied by a notice of motion as expressly required by Local
Civil Rule 7(a)(1). Kujawski v. Liberty Mut. Ins. Co., No. 19-CV-603S, 2021 U.S. Dist. LEXIS
60822, at *11 (W.D.N.Y. Mar. 30, 2021).

                                                   CONCLUSION

       For the foregoing reasons, Plaintiff requests leave to file a Memorandum of Law not to
exceed 10 pages, or, in the alternative, that the Court strike, in its entirety, ECF No. 19.




1
 The Defendant’s initial motion papers are devoid of any representation that the Spanish Handbook submitted to the
Court for consideration is a “true and accurate” translation of the English Handbook.



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                                                   Respectfully submitted,

                                                   Steven J. Moser
                                                   Steven J. Moser

CC:    All counsel of record via ECF




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